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6                             IN THE UNITED STATES DISTRICT COURT
7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
8    UNITED STATES OF AMERICA,                   )      Case №: 1:21-MJ-00035-4-SAB
                                                 )
9                    Plaintiff,                  )                    ORDER
                                                 )               APPOINTING COUNSEL
10           vs.                                 )
                                                 )
11   DARCY CALAFIORE,                            )
                                                 )
12                   Defendant.                  )
                                                 )
13
            The above named Defendant has, under oath, sworn or affirmed as to her financial
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15   inability to employ counsel or has otherwise satisfied this Court that she is financially unable to

16   obtain counsel and wishes counsel be appointed to represent her. Therefore, in the interests of

17   justice and pursuant to the U.S. CONST., amend VI and 18 U.S.C. § 3006A,
18
            IT IS HEREBY ORDERED that Michael W. Berdinella be appointed to represent the
19
     above defendant in this case effective nunc pro tunc to April 22, 2021.
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            This appointment shall remain in effect until further order of this court.
21
22
     IT IS SO ORDERED.
23
        Dated:     April 28, 2021                              /s/ Barbara A. McAuliffe               _
24
                                                        UNITED STATES MAGISTRATE JUDGE
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